                                                   Table of Contents
PRELIMINARY STATEMENT .....................................................................................................1
STATEMENT OF FACTS ..............................................................................................................2
STANDARD OF REVIEW .............................................................................................................6
ARGUMENTS .................................................................................................................................6
   I. Plaintiff’s Official Capacity Claims Against Cameron are Duplicative ................................6
   II. Cameron is Entitled to Qualified Immunity ………………………………………………. 6
  III. Plaintiff Has Failed To State A First Amendment Retaliation Claim..…….…….…………9
          A. Plaintiff’s Speech Was Not Constitutionally Protected As
                A Matter of Law ………………………………………………...…...……………..…9
          B. Plaintiff Has Not Alleged That Cameron Took Adverse Action Against
               Her that Was Motivated By Her Allegedly Protected Speech ..………………..…….14
   IV. Plaintiff Has Failed To State An Equal Protection Claim …….....……………………….14
          A. Plaintiff Fails To Plausibly Allege That Her Gender Was A Motivating Factor …....15
   V. Plaintiff’s §1985 Conspiracy Claim Is Barred By The Intra-Corporate
            Conspiracy Doctrine ……………………………………………..…………………… 18
   VI. Plaintiff Has Failed To State A §1985 Conspiracy Claim ………………………………..19
   VII. Plaintiff Has Failed To State A Claim Under New York Civil Service Law § 75-b …… 20
   VIII. Plaintiff Has Failed To State A Claim Under New York Labor Law § 740 ……...……. 21
   IX. Plaintiff Has Failed To State A Claim For Prima Facie Tort ……………………………21
Conclusion ……………………………………………………………………………………….23
